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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  RADLEY BRADFORD, individually,
  and on behalf of all others similarly
  situated,,                                         Case No. 4:20-cv-01871

  Plaintiff,

  v.

  CAPITAL ONE BANK (USA), N.A.,

  Defendant.

                                 NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that RADLEY BRADFORD (the “Plaintiff”) and CAPITAL

ONE BANK (USA), N.A., (the “Defendant”), hereby notify the Court the parties have reached

settlement, and are in process of completing the settlement agreement and filing dismissal papers.

The parties anticipate filing dismissal papers within 45 days.

DATED: August 28, 2020                                       Respectfully submitted,

                                                             RADLEY BRADFORD

                                                             By: /s/ Mohammed Badwan

                                                             Mohammed Badwan
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